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 7

 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. CR 10-191 JAM
12                      Plaintiff,                     STIPULATION AND PROPOSED ORDER
                                                       TO TERMINATE PRE-TRIAL RELEASE
13          v.                                         SUPERVISION
14   TODD SMITH, et. al.,
15                      Defendants.
16

17          To: Magistrate Judge CAROLYN K. DELANEY:

18          Defendant TODD SMITH, by and through his attorney, Bruce Locke, and the

19   Government, by and through its attorney, Todd Pickles, stipulate as follows:

20          Amaryllis Gonzalez, the Sacramento Pre-Trial Services Officer for Todd Smith has

21   determined that due to Todd Smith’s record of compliance with all of his pre-trial conditions, he

22   no longer needs to be monitored by Pre-Trial Services. AUSA Pickles and defense counsel agree

23   that terminating supervision is appropriate. The parties stipulate that all conditions for Mr.

24   Smith’s pre-trial release and his supervision by Pre-Trial Services shall be terminated. It is

25   understood by the parties that the unsecured appearance bond previously filed by the parties shall

26   remain in effect and that the United States Passport previously surrendered by Mr. Smith shall

27   remain in the custody of the Court. Mr. Pickles has authorized Mr. Locke to sign this pleading

28   for him.
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 3   Dated: July 17, 2014                               Respectfully submitted,
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 5                                                      /s/ Bruce Locke__________
                                                        BRUCE LOCKE
 6                                                      Attorney for Mr. Smith

 7
     Dated: July 17, 2014                               BENJAMIN WAGNER
 8                                                      United States Attorney
 9

10                                                      /s/ Bruce Locke
                                                        For TODD PICKLES
11                                                      Assistant U.S. Attorney

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13
            IT IS HEREBY ORDERED that the pre-trial release conditions for Todd Smith are
14
     modified as follows:
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16          All conditions of Todd Smith’s pre-trial release are hereby terminated. The unsecured

17   appearance bond previously posted shall remain in effect. Mr. Smith’s United States passport

18   shall remain in the custody of the Court.

19

20   Dated: July 17, 2014
                                                    _____________________________________
21                                                  CAROLYN K. DELANEY
22                                                  UNITED STATES MAGISTRATE JUDGE

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